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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


HOUSTON PRIME INVESTMENTS, LTD.                  §
     Plaintiff,                                  §
                                                 §
v.                                               §      CIVIL ACTION NO. 4:23-cv-00996
                                                 §
COMMUNITY LOAN SERVICING, LLC,                   §
    Defendant.                                   §


                                    NOTICE OF APPEARANCE

       Plaintiffs, HOUSTON PRIME INVESTMENTS, LTD and AMIR BAJMANLOU, give

notice to the Court of the appearance of George Hittner as an attorney of record in the above styled

and numbered case.

DATED: April 12, 2023.

                                                     Respectfully submitted,

                                                     THE HITTNER GROUP, PLLC



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                                                     -AND-

                                                     THE HALL LAW FIRM

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      Case 4:23-cv-00996 Document 7 Filed on 04/12/23 in TXSD Page 2 of 2




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                                                 ATTORNEYS FOR PLAINTIFFS



                                 CERTIFICATE OF SERVICE

     This is to certify that a true and correct copy of the above document was filed via the
CM/ECF system on this 12th day of April, 2023, which caused service on all parties.



                                                 George J. Hittner
